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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


RANDY HARRIS, 23373-077,                         )
         MOVANT,                                 )
                                                 )           3:06-CV-126-H
v.                                               )           3:92-CR-289-H(02)
                                                 )                 ECF
UNITED STATES OF AMERICA,                        )
          RESPONDENT.                            )


                 FINDINGS, CONCLUSIONS AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

       This cause of action was referred to the United States Magistrate Judge pursuant to the

provisions of Title 28, United States Code, Section 636(b), as implemented by an order of the

United States District Court for the Northern District of Texas. The Findings, Conclusions and

Recommendation of the United States Magistrate Judge follow:

FINDINGS AND CONCLUSIONS

I. Procedural Background

       On December 9, 1992, Defendant was found guilty of: (1) conspiracy to commit

extortion, in violation of 18 U.S.C. § 1951(a); (2) extortion, in violation of 18 U.S.C. § 1951(a);

(3) conspiracy to distribute cocaine base, in violation of 21 U.S.C. § 846; and (4) distribution of

cocaine base, in violation of 21 U.S.C. § 841. He was sentenced to 360 months confinement and

five years supervised release. His conviction was affirmed on direct appeal.

       Movant has previously filed at least two motions to vacate, set-aside, or correct sentence

pursuant to 28 U.S.C. § 2255. He has also filed unsuccessful motions to modify the terms of his

imprisonment and for downward departure.

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       On January 10, 2006, Movant filed this motion to vacate, set-aside, or correct sentence

pursuant to 28 U.S.C. § 2255. He argues his sentence is unlawful under the Supreme Court’s

decision in United States v. Booker, 543 U.S. 220 (2005).1

II. Discussion

       The Fifth Circuit Court of Appeals has squarely held that Booker does not apply

retroactively on collateral review to a first § 2255 motion or to a successive § 2255 motion. See

United States v. Gentry, 432 F.3d 600, 605 (5th Cir. 2005); In re Elwood, 408 F.3d 211 (5th Cir.

2005). Thus, Booker does not provide a basis for relief to a defendant, such as the one in this

case, whose conviction became final before the case was decided. Id. at 603-04 & n.2.

Accordingly, Movant’s claims should be denied.

RECOMMENDATION

       For the foregoing reasons, the Court recommends that the motion to correct, vacate or

set-aside sentence pursuant to 28 U.S.C. § 2255 be denied.

       Signed this 14th day of August, 2006.


                                               _____________________________________
                                               PAUL D. STICKNEY
                                               UNITED STATES MAGISTRATE JUDGE




       1
         In Booker, the Supreme Court extended to the Federal Sentencing Guidelines the rule
announced in Apprendi v. New Jersey, 530 U.S. 466 (2000), and reaffirmed in Blakely v.
Washington, 542 U.S. 296 (2004), that “[a]ny fact (other than a prior conviction) which is
necessary to support a sentence exceeding the maximum authorized by the facts established by a
plea of guilty or jury verdict must be admitted by the defendant or proved to a jury beyond a
reasonable doubt.” Booker, 543 U.S. at 244; see also, Padilla v. United States, 416 F.3d 424,
426 n.1 (5th Cir. 200). The Booker Court also excised certain statutory provisions that made the
Guidelines mandatory, thereby rendering them advisory only. Booker, 543 U.S. at 245.

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                           INSTRUCTIONS FOR SERVICE AND
                         NOTICE OF RIGHT TO APPEAL/OBJECT

       The United States District Clerk shall serve a true copy of these findings, conclusions and

recommendation on Plaintiff. Pursuant to Title 28, United States Code, Section 636(b)(1), any

party who desires to object to these findings, conclusions and recommendation must serve and

file written objections within ten days after being served with a copy. A party filing objections

must specifically identify those findings, conclusions or recommendation to which objections are

being made. The District Court need not consider frivolous, conclusory or general objections. A

party's failure to file such written objections to these proposed findings, conclusions and

recommendation shall bar that party from a de novo determination by the District Court. See

Thomas v. Arn, 474 U.S. 140, 150 (1985). Additionally, any failure to file written objections to

the proposed findings, conclusions and recommendation within ten days after being served with

a copy shall bar the aggrieved party from appealing the factual findings and legal conclusions of

the Magistrate Judge that are accepted by the District Court, except upon grounds of plain error.

Douglass v. United Servs. Auto. Ass'n, 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc).




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